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MEMORANDUM ENDORSEMENT                                                             6/8/2021


Rothschild Broadcast Distribution Systems, LLC v. Schoology, Inc.
21-cv-4250 (NSR)
The Court reviewed Defendant’s request for a pre-motion conference to seek leave to file a
motion to dismiss pursuant to Rule 12(b)(6), (ECF No. 11, dated June 4, 2021), and Plaintiff’s
opposition (ECF No. 13, dated June 7, 2021).
Defendant’s request for a pre-motion conference is denied and the pre-motion conference
requirement is waived. Defendant is granted leave to file its proposed motion with the following
briefing schedule: Defendant’s moving papers shall be served (not filed) on or before July 8,
2021; Plaintiff’s opposition papers shall be served (not filed) on or before August 9, 2021;
Defendant’s reply papers shall be served on or before August 24, 2021.
All motion documents shall be filed on the reply date, August 24, 2021. The parties shall send
two physical courtesy copies to Chambers via mail and one electronic courtesy copy to
Chambers via email as the documents are served.
The Clerk of the Court is kindly directed to terminate the motion at ECF No. 11.
Dated: June 8, 2021
       White Plains, NY


                                                                   SO ORDERED.


                                                                   _____________________
                                                                   Nelson S. Román, U.S.D.J.
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Jay Johnson
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                                                 June 7, 2021

Honorable Nelson S. Román
U.S. District Court for the Southern District of New York
Federal Building and United States Courthouse
300 Quarropas St.
White Plains, NY 10601-4150
via CM/ECF

RE:      Rothschild Broadcast Distribution Systems, LLC v. Schoology, Inc.
         Civil Action No.: 7:21-cv-04250-NSR-JCM

Dear Judge Román:

         Plaintiff respectfully responds to Defendant’s June 4, 2021, letter requesting a conference in
connection with Defendant’s proposed motion under 35 U.S.C. § 101 [Doc. 11]. The claims of the ‘221
Patent are not abstract. Defendant characterizes the “abstract idea” as “requesting, storing, and
delivering media content.” This overgeneralization ignores virtually all of the elements and limitations
of, for example, asserted claim 7. Claim 7, in its entirety, recites:

         A method for storing media content and delivering requested media content to a consumer
         device, the method comprising:
                 receiving a request message including media data indicating requested media
         content and a consumer device identifier corresponding to the consumer device;
                 determining whether the consumer device identifier corresponds to a registered
         consumer device; and
                 if it is determined that the consumer device identifier corresponds to the
         registered consumer device, then: determining, whether the request message is one of a
         storage request message and a content request message; and
                 if the request message is the storage request message, then determining whether
         the requested media content is available for storage; and
                 if the request message is the content request message, then initiating delivery of the
         requested media content to the consumer device;
                 wherein the media data includes time data that indicates a length of time to store
         the requested media content; and
                 the first processor is further configured to determine whether the requested
         media content exists and if the processor determines that the requested media content
         exists, the processor is further configured to determine whether the requested media
         content is available and whether there are restrictions associated with the requested
         media content that prevent the requested media content from being delivered to the
         consumer device.
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        Defendant’s “abstract idea” ignores all of the highlighted claim elements. In fact, Defendant’s
“abstract idea” can be found in the preamble alone. This characterization is precisely the type of
oversimplification that the Federal Circuit has cautioned against, for example, in Enfish (822 F.3d 1327,
1336 (Fed. Cir. 2016). “The district court concluded that the claims were directed to the abstract idea of
“storing, organizing, and retrieving memory in a logical table” or, more simply, “the concept of organizing
information using tabular formats. . . . However, describing the claims at such a high level of abstraction
and untethered from the language of the claims all but ensures that the exceptions to § 101 swallow the
rule.” (Emphasis added).

       If Defendant took into account the entirety of the claim, it could not reasonably argue that the
claim is directed to an abstract idea. This Court must consider the claims in their entirety to ascertain
whether they are directed to ineligible subject matter under Alice step one. See, e.g., Internet Patents, 790
F.3d 1343, 1346 (Fed. Cir. 2015).

        Moreover, the omitted claim language defines the solution to the then-existing computer and
communications problem in existing computer and communications technology of communicating with
multiple networked devices requiring specific protocol instructions for each device using multiple user
interfaces. The specification of the ‘221 Patent clearly defines this problem and solution as shown above.
See Complaint [Doc. 1], paras. 15-22. Defendant improperly avoids the inconvenient purpose of the claims
by intentionally ignoring key language from the claims that define the solution.

       Defendant’s Alice step-two analysis is nothing more than a repeat of its flawed step-one argument.
Defendant zeros in on certain components and argues that those components are conventional or well-
known, all while ignoring the very claim limitations that make it clear the components are configured, and
operate, in a non-generic manner. For instance, Defendant ignores the operation of a request message
including media data and a consumer device identifier as well as the recited determination of whether the
consumer device identifier corresponds to a registered consumer device. The analysis ignores that the
system’s servers determine whether the request message is a storage request or a content request and
whether requested media content is available for storage. Defendant’s analysis further ignores including
time data that indicates a length of time to store the media content and the operation of a processor
configured to determine whether the requested media content exists and further configured to determine
whether the requested media content is available and whether there are restrictions associated with the
requested media content that prevent the requested media content from being delivered to the consumer
device. These are non-generic components performing non-generic functions, which are detailed in the
disclosure of the ‘221 Patent specification as well as being set forth in the Complaint.

         Finally, Plaintiff has alleged that certain components recited in the claims are configured and
operate in a non-generic manner and that the claims recite more than known concepts operating on generic
computer devices. Complaint [Doc. 1], paras. 15-22. These allegations pose factual questions directly
impacting a determination of abstractness and whether the ‘221 Patent claims recite technology that is
well-understood, routine, and/or conventional. Berkheimer v. HP Inc., Appeal No. 2017-1437 (Fed. Cir.
2018), at 14; see also, Cellspin Soft, Inc. v. Fitbit, Inc., 927 F.3d 1306, 1317-18 (Fed. Cir. 2019) (“Cellspin
made specific, plausible factual allegations about why aspects of its claimed inventions were not
conventional, e.g., its two-step, two-device structure requiring a connection before data is transmitted. The
district court erred by not accepting those allegations as true.”).
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        For the foregoing reasons, Defendant’s proposed motion should not be entertained. At the very
least, the proposed motion should be postponed until the close of discovery and the corresponding
determination of Plaintiff’s factual allegations regarding whether or not the claimed components are
conventional or generic.

Sincerely,
Kizzia Johnson PLLC



/s/ Jay Johnson
Jay Johnson

cc:      Excylyn J. Hardin-Smith, Esq. (Via CM/ECF)
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                                                                    Excylyn J. Hardin-Smith
VIA ECF                                                             Associate
                                                                    hardin-smith@fr.com
                                                                    212 641 2239 direct
Honorable Nelson S. Román
U.S. District Court for the Southern District of New York
300 Quarropas Street
White Plains, NY 10601

Re:   Rothschild Broadcast Distribution Systems, LLC v. Schoology, Inc.
      Case No. 7:21-cv-04250-NSR-JCM

Dear Judge Román:

       Pursuant to your Individual Practices, Defendant Schoology, Inc. respectfully
requests a pre-motion conference for Schoology’s Motion to Dismiss pursuant to
FED. R. CIV. P. 12(b)(6). The claims of the asserted patent are invalid under 35 U.S.C.
§ 101 for failure to claim patent-eligible subject matter. The patent claims an abstract
idea—requesting, storing, and delivering media content—without anything more to
establish an inventive concept. To avoid wasting judicial and party resources
unnecessarily litigating an invalid patent, Schoology intends to request the Court
dismiss the Complaint with prejudice because amendment would be futile.

       Patentability under § 101 is a threshold legal issue. Bilski v. Kappos, 561 U.S.
593, 602 (2010). Accordingly, the § 101 inquiry is properly raised at the pleadings
stage if it is apparent from the face of the patent that the asserted claims are not
directed to eligible subject matter. See Ultramercial, Inc. v. Hulu, LLC, 772 F.3d 709,
718-19 (Fed. Cir. 2014) (Mayer, J., concurring). Abstract ideas are ineligible for
patentability under § 101 absent an inventive concept that amounts to significantly
more than the abstract idea. Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 134 S. Ct. 2347,
2355 (2014).

       Asserted U.S. Patent No. 8,856,221 is entitled “System and Method for Storing
Broadcast Content in a Cloud-based Computing Environment” and purportedly
discloses a system for alternatively storing or delivering requested media content in
response to requests from consumer devices. ’221 Pat. at 3:56-60. The claimed
“system” of claims 1 is comprised only of three generic components: a “server,” a
“receiver,” and a “processor.” Id. at 2:24-25. The system responds to two types of
prompts: “storage request messages” and “content request messages.” Id. at 2:37,
6:34-35. If the server receives a “storage request message,” it looks at the “media
data” included in the message to determine how long to store the requested media
content. Id. at 5:23-36. The server may then download the requested media content.
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Id. 5:63-66. Alternatively, if the server receives a “content request message,” the
server searches a “media database” for the requested content. Id. at 6:42-44. Once the
content is located, the server may transmit it to the consumer device. Id. at 7:1-2.

       Representative claim 1 of the ’221 Patent is attached as Exhibit 1 due to its
length. Claim 1 fails both prongs of the Alice test and is therefore invalid under
§ 101. At Step 1, claim 1 is directed to the abstract idea of requesting, storing, and
delivering media content as a series of basic steps: (1) a server receives a request
message; (2) the server determines whether the request is to store content or deliver
content; (3a) if the request is to store content, then the server determines whether the
content is available and how long to store it; or (3b) if the request is to deliver
content, then the server determines whether the content is available and whether
there are restrictions on its delivery.

        Requesting, storing, and delivering media content is an activity “humans have
always performed,” Content Extraction and Transmission LLC v. Wells Fargo Bank, Nat’l
Ass’n, 776 F.3d 1343, 1347 (Fed. Cir. 2014). People often arrange for requested content
to be stored and delivered—for example, the humble coat check system requires an
attendant to communicate with patrons and either store or retrieve their coats upon
request. This basic human activity precedes the digital age, and its core functionality
is not improved by simply performing the same routine on a computer.

       The ’221 Patent does not disclose any special or improved way of requesting,
storing, and delivering media content, and no specific hardware configuration is
required. To the contrary, it teaches “[t]he present invention can be realized in
hardware, software, or a combination of hardware and software” and that “[a]ny
kind of computing system, or other apparatus adapted for carrying out the methods
described herein, is suited to perform the functions described herein.” ’221 Pat. at
10:12-16.

       Moreover, like other computer-implemented claims found to be patent-
ineligible, the ’221 Patent merely claims a desired result without explaining “how
this would be technologically implemented”—the claims specify no “particular way
of programming or designing the software.” Apple, Inc. v. Ameranth, Inc., 842 F.3d
1229, 1241, 1244 (Fed. Cir. 2016). Instead, the claims contain broad functional
language and only recite a desired goal of storing or delivering requested content in
response to a request message. See ’221 Patent at cl. 1 (i.e., “receive a request
message,” “determine whether the request message is one of a storage request
message and a content request message,” “determine whether the requested media
content is available for storage,” and “initiate delivery of the requested media
content”). Such “vague, functional” terms, “devoid of technical explanation as to


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how to implement the invention” in any non-conventional way, cannot confer
eligibility. In re TLI Commc’ns LLC Patent Litig., 823 F.3d 607, 615 (Fed. Cir. 2016).

        At Step 2, the claims lack an inventive concept because they merely recite
performing an abstract idea using conventional computer functions: receiving
request messages, verifying authorization, searching for requested content, and
sending requested data. ’221 Patent at cl. 1. Such steps are “basic functions of a
computer” and do not make the claims eligible. See Alice, 134 S. Ct. at 2359-60
(citation omitted). This is evident in how the system of claim 1 requires only generic
components: a “server,” a “receiver,” and a “processor.” ’221 Patent at cl. 1. This use
of “purely functional and generic” computer components operating in conventional
ways is insufficient. Alice, 134 S. Ct. at 2360.

       For the foregoing reasons, Schoology intends to request the Court dismiss the
Complaint for failure to state a claim upon which relief can be granted. To that end,
Schoology respectfully requests the Court hold a pre-motion conference regarding
its expected motion.

Sincerely,



Excylyn J. Hardin-Smith
Associate




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                               Exhibit 1
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U.S. Patent 8,856,221 claim 1:

1. A system for media content storage and delivery, the system comprising:

      a first server, the first server including:

             a first receiver, the first receiver configured to receive a request
             message including media data indicating requested media content and
             a consumer device identifier corresponding to a consumer device; and

             a first processor in communication with the first receiver, the first
             processor configured to determine whether the consumer device
             identifier corresponds to a registered consumer device;

      if the first processor determines that the consumer device identifier
      corresponds to the registered consumer device, then: the first processor is
      further configured to determine whether the request message is one of a
      storage request message and a content request message;

             if the request message is the storage request message, then the
             processor is further configured to determine whether the requested
             media content is available for storage; and

             if the request message is the content request message, then the
             processor is further configure to initiate delivery of the requested
             media content to the consumer device;

      wherein the media data includes time data that indicates a length of time to
      store the requested media content; and

      the first processor is further configured to determine whether the requested
      media content exists; and

      if the processor determines that the requested media content exists, the
      processor is further configured to determine whether the requested media
      content is available and whether there are restrictions associated with the
      requested media content that prevent the requested media content from being
      delivered to the consumer device.




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